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UNITED STATES DISTRICT COURT A oO
SOUTHERN DISTRICT OF TEXAS). DEC 14 2018
McALLEN DIVISION a
David J. Bradley, Clerk

UNITED STATES OF AMERICA § radley,

g -
Vv. § Criminal No. M-18-1757

§
LEONEL ALBERTO GONZALEZ-TREVINO §

NOTICE OF PLEA AGREEMENT
COMES NOW the United States of America, hereinafter referred to as "the Government,"
. by and through its United States Attorney for the Southern District of Texas and its Assistant
United States Attorney assigned to this matter, and would respectfully show the Court that the
Government and the Defendant have entered into the following plea agreement:
1. Defendant agrees to plead guilty to the Indictment.
2. The Government will recommend:

a. that the offense level decrease by 2 levels pursuant to U.S.S.G. § 3E1.1(a)
if the defendant clearly demonstrates acceptance of responsibility.

If the Defendant is not a citizen of the United States of America, a plea of guilty may result

in removal from the United States, denial of citizenship and denial of admission to the United

States in the future. If the Defendant is a naturalized United States citizen, a plea of guilty may
result in denaturalization.

This document states the complete and only Plea Agreement between the United States of
America and the Defendant, and is binding only on the parties to this Agreement, and it supersedes
all prior understandings, if any, whether written or oral, and cannot be modified other than in
writing and signed by all parties or on the record in Court. No other promises or inducements

have been or will be made to the Defendant in connection with this case, nor have any promises

or threats been made in connection with this plea.
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ACKNOWLEDGMENTS:
I have read this agreement and carefully reviewed every part of it with my attorney. IfI
have difficulty understanding the English language, I have had a person fluent in the Spanish

language interpret this agreement to me.

Date: / 2-/ U-/ E | ' Defendant: Sim ALi, <<
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I am the Defendant's counsel. Ihave carefully reviewed every part of this agreement with
the Defendant. I certify that this agreement has been translated to my client by a person fluent in
the Spanish language if my client is unable to read or has difficulty understanding the English

language.

Date: /D-l YAE | Luu UL: Stull =

” Counsel for Defense

For the United States of America:

RYAN K. PATRICK

C2. Attorney

Rolando Cantu
Assistant United States Attorney

 

APPROVED BY:

James H. Spurgi
Assistant Wnit¢d States Attorney in Charge
